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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA                                                                      MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                                   SECTION “N-5"

                                                                       JUDGE ENGELHARDT

                                                                       MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Mark R. Mosley, as wrongful death beneficiary
and representative of Betty O. Mosley, Deceased, et al
v Gulf Stream Coach, Inc., et al
Case No. 2:10-cv-1356

______________________________________________________________________________

                            RULE 7.6 CERTIFICATE
______________________________________________________________________________

       Pursuant to Local Rule 7.6, undersigned counsel for Plaintiff certifies that David Kurtz,

liaison counsel for the Contractor Defendants, Henry T. Miller, counsel for the United States

Department of Justice, and Andrew Weinstock, counsel for Gulf Stream, have all been contacted

and state that they are not opposed to Plaintiffs’ Second Motion for Extension of Time to Serve

the Defendants.

       Respectfully submitted, this the 23 day of June, 2010.



                                                    By:            s / Rose M. Hurder
                                                                   Rose M. Hurder
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2010 I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first class mail to all counsel of record who are non-

CM/ECF participants.



                                                                      s / Rose M. Hurder
                                                                      ROSE M. HURDER
